                     UNITED STATES DISTRICT COURT

                  WESTERN DISTRICT OF NORTH CAROLINA

PETER J. JARVINEN and
COSTANCE L. JARVINEN,

     Plaintiffs,

v
                                                      1:18-cv-00014
GOSHEN TIMBER FRAMES, INC.,
BONNIE PICKARTZ, and DAVID
PICKARTZ,

     Defendants.


     AMENDED DECLARATION OF ALLAN R. TARLETON IN SUPPORT OF
            PLAINTIFFS’ REQUEST FOR ENTRY OF DEFAULT


Allan R. Tarleton declares and says:

     1.    My name is Allan R. Tarleton.

     2.    I am making this declaration in support of Plaintiffs’

Motion for Clerk’s Entry of Default in the above-captioned case.

     3.    I am an attorney at The Van Winkle Law Firm and am duly

licensed   to   practice   law     in   the   state   of   North   Carolina.   I

represent Peter and Constance Jarvinen in the above-captioned

case. The facts set forth in this declaration are within my

personal knowledge, true and correct, and I would testify to them

under oath if called upon to do so.

     4.    Plaintiffs      filed    their     Original     Complaint   against

Defendants Goshen Timber Frames, Inc., Bonnie Pickartz, and David

Pickartz, on January 23, 2018. (Dkt. 1.)


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     5.    Defendants were each served with the Summons, Complaint,

and Electronic Case Opening Notice (with attachments) on January

29, 2018 (Dkt.3).

     6.    To date, none of the Defendants has filed an answer or

responsive pleading or requested an extension of time to do so.

     7.    None of the Defendants is incompetent, and I am not aware

of   any   facts   that   suggest   either   individual     Defendant    is

incompetent.

     I declare under penalty of perjury that the foregoing is true

and correct.



February 21, 2018.



                                              /s/ Allan R. Tarleton
                                              Allan R. Tarleton




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                       CERTIFICATE OF SERVICE

     I hereby certify that on February 21, 2018, I electronically
filed the foregoing with the Clerk of the Court and mailed the
foregoing document by first-class mail to the following non-CM/ECF
participants:

                           Bonnie Pickartz
                        Goshen Timber Frames
                         37 Phillips Street
                         Franklin, NC 28734

                           David Pickartz
                        Goshen Timber Frames
                         37 Phillips Street
                         Franklin, NC 28734

                     Goshen Timber Frames, Inc.
                 Susan Broadhead, Registered Agent
                         37 Phillips Street
                         Franklin, NC 28734



                           /s/ Allan R. Tarleton




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